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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


ALLIED PROGRESS,                    )
                                    )
         Plaintiff,                 )
                                    )                      Civil Action No. 19-0582 (DLF)
             v.                     )
                                    )
CONSUMER FINANCIAL                  )
PROTECTION BUREAU,                  )
                                    )
         Defendant.                 )
                                    )
___________________________________ )

                    DECLARATION OF KATHERINE M. ANTHONY

      I, KATHERINE M. ANTHONY, hereby declare as follows:

   1. I am an attorney of record for Plaintiff American Oversight in the above-captioned

      action.

   2. On March 7, 2019, I was admitted to appear pro hac vice in this matter while my

      application for membership to the Bar of the District of Columbia was pending. My pro

      hac vice application was based on my membership in good standing of the Bar of

      Massachusetts (BBO No. 685150), and my supervision by a member of the District of

      Columbia Bar.

   3. Subsequently, on June 17, 2019, my application for admission to the Bar of the District of

      Columbia was granted, and then, on August 5, 2019, I was sworn in to the bar of this

      Court.

   4. Accordingly, I am duly admitted to this Court and qualified to represent Plaintiff

      American Oversight in this action.
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   5. Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

      and correct.




Date: October 23, 2019                              ______________________________
                                                    Katherine M. Anthony
